













NUMBERS 13-08-00370-CV 



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG 


______________________________________________________________

	


MIKE JONES, 	Appellant,


v.



WELLS FARGO BANK, N.A.,	Appellee. 

		

_____________________________________________________________


On Appeal from the 117th District Court  


of Nueces County, Texas.


______________________________________________________________


MEMORANDUM OPINION


	

Before Chief Justice Valdez and Justices Yañez and Benavides


Memorandum Opinion Per Curiam


	Appellant, Mike Jones, pro se, attempted to perfect an appeal from an order 
entered by the 117th District Court of Nueces County, Texas, in cause number 03-3175-B. 
The order subject to appeal, a Dismissal for Want of Prosecution, was signed on April 23,
2008, but the notice of appeal was not filed until June 9, 2008. 

	 Pursuant to Texas Rule of Appellate Procedure 26.1, appellant's notice of appeal
was due on May 23, 2008.  A motion for extension of time is necessarily implied when an
appellant, acting in good faith, files a notice of appeal beyond the time allowed by rule
26.1, but within the fifteen-day grace period provided by Rule 26.3 for filing a motion for
extension of time.  See Verburgt v. Dorner, 959 S.W.2d 615, 617-18, 619 (1997)
(construing the predecessor to Rule 26).  However, appellant must provide a reasonable
explanation for the late filing: it is not enough to simply file a notice of appeal.  Id.; Woodard
v. Higgins, 140 S.W.3d 462, 462 (Tex. App.-Amarillo 2004, no pet.); In re B.G., 104
S.W.3d 565, 567 (Tex. App.-Waco 2002, no pet.).

	On June 11, 2008, the Clerk of this Court sent appellant notice of this defect by
certified mail, but it was returned as unclaimed.  On July 21, 2008, the Clerk of this Court,
sent the appellant, by regular mail, notice of this defect so that steps could be taken to
correct the defect, if it could be done. Appellant was advised that, if the defect was not
corrected within ten days from the date of receipt of this Court's letter, the appeal would
be dismissed.  To date, the letter sent to appellant on July 21, 2008, has not been
returned, and no response has been received from appellant providing a reasonable
explanation for the late filing of the notice of appeal.

          The Court, having examined and fully considered the documents on file, appellant's
failure to timely perfect his appeal, and appellant's failure to respond to this Court's notice,
is of the opinion that the appeal should be dismissed for want of jurisdiction. Accordingly,
the appeal is hereby DISMISSED FOR WANT OF JURISDICTION.  See Tex. R. App. P.
42.3(a)(c).

							PER CURIAM

Memorandum Opinion delivered and

filed this the 25th day of August, 2008.





	


